          Case 3:17-cv-05690-BHS Document 276 Filed 03/15/19 Page 1 of 4




 1                                                 The Honorable Benjamin H. Settle
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 7                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 8                                  AT TACOMA

 9   STATE OF WASHINGTON,                  NO. 3:17-cv-05690-BHS
10                       Plaintiff,        STATE OF WASHINGTON’S LCR 7(l)
                                           NOTICE TO WITHDRAW PENDING
11         v.                              MOTION
12   FRANCISCAN HEALTH SYSTEM d/b/a        NOTED FOR CONSIDERATION ON:
     CHI FRANCISCAN HEALTH;                MARCH 22, 2019
13   FRANCISCAN MEDICAL GROUP; THE
14   DOCTORS CLINIC, a Professional
     Corporation; and WESTSOUND
15   ORTHOPAEDICS, P.S.,

16                       Defendants.
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      STATE’S LCR 7(l) NOTICE TO                       ATTORNEY GENERAL OF WASHINGTON
                                                                 Antitrust Division
      WITHDRAW PENDING MOTION                               800 Fifth Avenue, Suite 2000
      NO. 3:17-cv-05690-BHS                                     Seattle, WA 98104
                                                                   (206) 464-7744
             Case 3:17-cv-05690-BHS Document 276 Filed 03/15/19 Page 2 of 4




 1           The State of Washington, under Local Rule 7(l), withdraws its pending Motion for Order
 2   Finding Franciscan Defendants Waived Privilege Regarding Certain Spreadsheets (Dkt. No.
 3   260).
 4           DATED this 15th day of March 2019.
 5
                                                 ROBERT W. FERGUSON
 6
                                                 Attorney General
 7
                                                 /s/ Rahul Rao
 8                                               RAHUL RAO, WSBA No. 53375
                                                 ERICA A. KOSCHER, WSBA No. 44281
 9                                               AMY N.L. HANSON, WSBA No. 28589
                                                 Assistant Attorneys General
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                                                 Antitrust Division
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14                                               amyh3@atg.wa.gov
                                                 Attorneys for Plaintiff
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      STATE’S MOTION FOR ORDER FINDING                1             ATTORNEY GENERAL OF WASHINGTON
                                                                              Antitrust Division
      DEFENDANTS WAIVED PRIVILEGE                                        800 Fifth Avenue, Suite 2000
      REGARDING CERTAIN SPREADSHEETS                                         Seattle, WA 98104
      NO. 3:17-cv-05690-BHS                                                     (206) 464-7744
           Case 3:17-cv-05690-BHS Document 276 Filed 03/15/19 Page 3 of 4




 1                                  CERTIFICATE OF SERVICE
 2          I certify, under penalty of perjury under the laws of the state of Washington, that on this
 3   date I have caused a true and correct copy of the following document to be served on the
 4   following via CM/ECF:
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18   Westsound Orthopaedics, P.S.

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25   Attorneys for Defendant The Doctors Clinic, a Professional Corporation

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      STATE’S MOTION FOR ORDER FINDING                 2              ATTORNEY GENERAL OF WASHINGTON
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      DEFENDANTS WAIVED PRIVILEGE                                          800 Fifth Avenue, Suite 2000
      REGARDING CERTAIN SPREADSHEETS                                           Seattle, WA 98104
      NO. 3:17-cv-05690-BHS                                                       (206) 464-7744
           Case 3:17-cv-05690-BHS Document 276 Filed 03/15/19 Page 4 of 4




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 5   Attorneys for Defendant WestSound Orthopaedics, P.S.
 6
           DATED this 15th day of March, 2019, at Seattle, Washington.
 7

 8                                            /s/ Rahul Rao
                                              RAHUL RAO, WSBA #53375
 9                                            Assistant Attorney General
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     STATE’S MOTION FOR ORDER FINDING             3             ATTORNEY GENERAL OF WASHINGTON
                                                                          Antitrust Division
     DEFENDANTS WAIVED PRIVILEGE                                     800 Fifth Avenue, Suite 2000
     REGARDING CERTAIN SPREADSHEETS                                      Seattle, WA 98104
     NO. 3:17-cv-05690-BHS                                                  (206) 464-7744
